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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

TERRY HARTMAN,                                )
                                              )
               Plaintiff,                     )
                                              )
               v.                             )       Cause No. 2:24-cv-32
                                              )
GUIDANT GLOBAL, INC. d/b/a                    )
BARTECH STAFFING,                             )
                                              )
               Defendant.                     )

  N.D. Ind. L.R. 6-1(b) Notice of Automatic Extension of Time to Respond to Complaint

       Defendant provides notice of an automatic twenty-eight (28) day extension of time to

respond to the Complaint pursuant to N.D. Ind. L.R. 6.1(b), stating as follows:

       1.      Defendant’s original deadline to respond to the Complaint is February 21, 2024.

This deadline has not been extended before.

       2.      Counsel for Defendant consulted with counsel for Plaintiff, and counsel for Plaintiff

agreed to an automatic extension of twenty-eight (28) days to respond to the Complaint.

       3.      The new deadline for Defendant to respond to the Complaint is Wednesday, March

20, 2024.


Dated: February 20, 2024                      Respectfully submitted,

                                              /s/ Brian E. Spang
                                              Brian E. Spang
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                                                Attorneys for Defendant




                                    CERTIFICATE OF SERVICE

        This is to certify that a true and accurate copy of the foregoing was filed via Court’s ECF system

and served on all counsel of record on February 20, 2024.



                                                        /s/ Brian E. Spang
                                                        ATTORNEY FOR DEFENDANT




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